    Case 3:21-cv-06118-JD   Document 54-2   Filed 02/16/22   Page 1 of 2




           Appellate Division of the Supreme Court
                     of the State of New York
                   Second Judicial Department


     I, Maria T. Fasulo, Clerk of the Appellate Division of the
Supreme Court of the State of New York, Second Judicial
Department, do hereby certify that

                  Brenna Danielle Nelinson
was duly licensed and admitted to practice as an Attorney and
Counselor at Law in all the courts of this State on March 13, 2019,
has duly taken and subscribed the oath of office prescribed by law,
has been enrolled in the Roll of Attorneys and Counselors at Law
on file in this office, is duly registered with the Administration
Office of the Courts, and according to the records of this Court is
currently in good standing as an Attorney and Counselor-at-Law.



                             In Witness Whereof, I have hereunto set
                             my hand in the City of Brooklyn on
                             January 24, 2022.




                                   Clerk of the Court


CertID-00050285
      Case 3:21-cv-06118-JD       Document 54-2          Filed 02/16/22   Page 2 of 2

                                  Appellate Division
                         Supreme Court of the State of New York
                              Second Judicial Department
                                   45 Monroe Place
                                Brooklyn, N.Y. 11201
                                        (718) 875-1300
 HECTOR D. LASALLE                                                        DARRELL M. JOSEPH
   PRESIDING JUSTICE                                                          DEPUTY CLERKS

  MARIA T. FASULO                                                           KENNETH BAND
  CLERK OF THE COURT                                                      MELISSA KRAKOWSKI
                                                                            WENDY STYNES
                                                                          ASSOCIATE DEPUTY CLERKS
                                                                              January 7, 2005

To Whom It May Concern


      An attorney admitted to practice by this Court may request a certificate of
good standing, which is the only official document this Court issues certifying to an
attorney's admission and good standing.


       An attorney's registration status, date of admission and disciplinary history
may be viewed through the attorney search feature on the website of the Unified
Court System.


        New York State does not register attorneys as active or inactive.


      An attorney may request a disciplinary history letter from the Attorney
Grievance Committee of the Second Judicial Department.


      Bar examination history is available from the New York State Board of Law
Examiners.


        Instructions, forms and links are available on this Court's website.




                                                  Maria T. Fasulo
                                                  Clerk of the Court




Revised January 2022
